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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,            )   Case No. 2:11-CR-00490 JAM
                                          )
12                      Plaintiff,        )   ORDER PROHIBITING MICHAEL
                                          )   BERGHASH FROM ENTERING U.S.
13        v.                              )   DISTRICT COURT
                                          )
14   IRINA MARKEVICH, ET AL.              )
                                          )
15                      Defendants.       )
                                          )
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17        Michael Berghash, 4752 Antonia Court, Sacramento, CA 95820, is

18   prohibited from entering the U.S. District Court located at 501 I

19   Street, Sacramento, CA 95814, until the completion of the trial in

20   United States vs Irina Markevich, et. al, Case #2:11-CR-0490 JAM.

21        IT IS SO ORDERED.

22   Dated:    April 30, 2015         /s/ John A. Mendez________________
                                      JOHN A. MENDEZ
23                                    United States District Court Judge
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